 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   A Limited Liability Partnership
 2 Including Professional Corporations
   STEVEN B. SACKS, Cal. Bar No. 98875
 3 ssacks@sheppardmullin.com
   MICHAEL M. LAUTER, Cal. Bar No. 246048
 4 mlauter@sheppardmullin.com
   ISAIAH Z. WEEDN, Cal. Bar No. 229111
 5 iweedn@sheppardmullin.com
   Four Embarcadero Center, 17th Floor
 6 San Francisco, CA 94111-4109
   Telephone: 415-434-9100
 7 Facsimile: 415-434-3947
 8 Attorneys for Plaintiff,
   MUFG UNION BANK, N.A.
 9
                           UNITED STATES BANKRUPTCY COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN JOSE DIVISION
12
13
     In re                                     Case No. 15-50801
14
     ROBERT BROWER, SR.,                       Chapter 11
15
                     Debtor.
16
17 MUFG UNION BANK, N.A.,                      Adv. Proc. No. 17-05044

18                   Plaintiff,                STIPULATION REGARDING SALE
             v.                                OF 28088 BARN COURT, CARMEL,
19                                             CA
     ROBERT BROWER, SR., an individual,
20   PATRICIA BROWER, an individual,
     COASTAL CYPRESS CORPORATION,              Place: United States Bankruptcy Court
21   a California corporation, COASTAL                280 South First Street
     CYPRESS CORPORATION, a Delaware                  San Jose, CA 95113-3099
22   corporation, AMERICAN                     Judge:    Hon. Elaine Hammond
     COMMERCIAL PROPERTIES, INC., a            Crtrm:    3020
23   Nevada corporation, ANTHONY
     NOBLES, an individual, WILFRED
24   “BUTCH” LINDLEY, an individual,
     RICHARD BABCOCK, an individual,
25   PATRICIA BROWER TRUST, and DOES
     1-50,
26                        Defendants.

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 1                WHEREAS, on January 24, 2018, the Plaintiff in this adversary proceeding,
 2 MUFG Union Bank, N.A. (“Union Bank”), filed an ex parte application (the
 3 “Application”) seeking a temporary restraining order and order to show cause why a
 4 preliminary injunction should not be issued against defendants Robert Brower, Sr., Patricia
 5 Brower, Coastal Cypress Corporation, a California corporation, Coastal Cypress
 6 Corporation, a Delaware corporation, American Commercial Properties, Inc., a Nevada
 7 corporation, and those acting in concert with them (collectively, the “TRO Defendants”)
 8 against transferring, encumbering, dissipating, or otherwise disposing of the net proceeds
 9 of the sale of the residence owned by American Commercial Properties, Inc. with an
10 address of 28088 Barn Court, Carmel, CA (the “Barn Court Residence”);
11                WHEREAS, on January 25, 2018, this Court granted the Application in its
12 Temporary Restraining Order and Order to Show Cause Why Preliminary Injunction
13 Should Not Be Issued (the “TRO”);
14                WHEREAS, pursuant to the parties’ agreement, the Court extended the terms
15 of the TRO in an order entered February 8, 2018;
16                WHEREAS, the hearing on the order to show cause in the TRO took place in
17 the above-captioned Court on February 15, 2018 at 10:30 a.m. (the “OSC Hearing”);
18                WHEREAS, Union Bank and the TRO Defendants met and conferred during
19 a recess at the OSC Hearing and reached the agreement set forth below regarding the sale
20 of the Barn Court Residence;
21                NOW, THEREFORE, Union Bank and the TRO Defendants, by through
22 their counsel of record, hereby STIPULATE as follows:
23                1.     The TRO Defendants may market the Barn Court Residence for sale
24 and may enter into a contract for the sale of the Barn Court Residence without prior
25 approval of Union Bank or the Court.
26                2.     The TRO Defendants must give thirty (30) days’ advance written
27 notice of the closing of any sale of the Barn Court Residence. The notice shall include a
28 breakdown of how the sale proceeds will be distributed at closing, identifying the amounts

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 1 to be paid and the recipients to receive them, including an estimate of balances of all
 2 secured liens to be paid.
 3                3.     The TRO Defendants will request the escrow officer in charge of the
 4 sale to prepare an estimated closing statement at their earliest opportunity upon entering
 5 into a contract for sale. The TRO Defendants shall provide Union Bank with a copy of
 6 said closing statement immediately upon receipt, and shall provide Union Bank with a
 7 copy of any further estimated and final closing statements that are prepared in connection
 8 with the sale of the Barn Court Residence.
 9                4.     Upon receiving the notice described in paragraphs 2 and 3 above,
10 Union Bank may, at any time before the noticed closing date, bring an application for a
11 temporary restraining order and order to show cause regarding preliminary injunction in
12 order to prevent the distribution of the proceeds of the sale of the Barn Court Residence,
13 including but not limited to a temporary restraining order and injunction sought in the
14 Application and approved in the TRO.
15                5.     Notwithstanding anything above, no proceeds of the sale of the Barn
16 Court Residence shall be paid to any TRO Defendant, or any other person or entity related
17 to or affiliated with any TRO Defendant, on account of any mortgage or deed of trust
18 recorded against the Barn Court Residence for the benefit of any such party as a mortgagee
19 or beneficiary. Without limiting the foregoing, no payments from the proceeds of the Barn
20 Court Residence shall be made to Coastal Cypress Corporation, a Delaware corporation, or
21 any assignee of Coastal Cypress Corporation, on account of the deeds of trust recorded in
22 the Official Records of Monterey County, California against the Barn Court Residence on
23 May 25, 2017 as Document No. 2017027868 and on November 12, 2017 as Document
24 No. 2017062869. Any proceeds of the sale of the Barn Court Residence that would have
25 been paid on account of any such mortgage or deed of trust shall be placed into a blocked
26 account where such proceeds shall remain until the resolution of the Second Claim for
27 Relief in the first amended adversary complaint filed by Union Bank in this action. The
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